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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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MARY EILEEN BOWENS,

Plaintiff,
vs. No. 04-3036-D/P
SHELBY COUNTY, et al.,

Defendants.

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ORDER OF DISMISSAL

 

Plaintiff Mary Eileen Bowens, RNI number 22825, who was, at
the time she commenced this action, an inmate at the Shelby County
Detention Center in Memphis, filed a prp §§ complaint pursuant to 42
U.S.C. § 1983 on December 2l, 2004. The Court issued an order on
December 28, 2004 directing the plaintiff, within thirty days, to
comply with the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(a)-(b), or pay the full filing fee of $150. Plaintiff
filed a change of address notice on January 4, 2005 indicating that she
has been released. On February 16, 2005, the post office returned the
plaintiff's copy of the December 28, 2005 order with a notation that
the plaintiff had been discharged. The Court issued an order on April
20, 2005 directing the plaintiff, within thirty days, to file a
nonprisoner in fp;ma pauperis affidavit or pay the $150 filing fee.
Plaintiff has not responded to this order, and the time for a response

has expired.

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The April 20, 2005 order states, in pertinent part, that
“[f]ailure to comply [with this order] will result in dismissal of this
action, pursuant to Fed. R. Civ. P. 4l(b), for failure to prosecute.”
04/20/05 Order at 2. Accordingly, the Court DISMISSES this action
without prejudice, pursuant to Fed. R. Civ. P. 41(b), for failure to
prosecute.

IT IS SO ORDERED this [57J¢qday of June, 2005.

   

  

BER IC B. DO ALD
UN ED STATES DISTRICT JUDGE

 

UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-03036 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Mary Eileen BoWens
1752 NetherWood
l\/lemphis7 TN 38114

Honorable Bernice Donald
US DISTRICT COURT

